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       Case 2:21-cr-00215-GW Document 1 Filed 05/04/21 Page 1 of 6 CLERK,   ID   #:1COURT
                                                                             DISTRICT


                                                                            05/04/2021

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                                                                        CENTRAL DISTRICT OF CALIFORNIA
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8                              UNITED STATES DISTRICT COURT

9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                October 2020 Grand Jury

11   UNITED STATES OF AMERICA,                    CR 2:21-cr-00215-GW

12              Plaintiff,                        I N D I C T M E N T

13              v.                                [18 U.S.C. § 641: Theft of
                                                  Government Property in Excess of
14   DOMINIQUE ANDREA WATTS,                      $1,000; 18 U.S.C. § 500:
       aka “Domonique Andrea Watts,”              Transmitting and Presenting Money
15                                                Orders Stamped Without Lawful
                Defendant.                        Authority; 18 U.S.C. §§ 492 and
16                                                981(a)(1)(C), and 28 U.S.C.
                                                  § 2461(c): Criminal Forfeiture]
17

18        The Grand Jury charges:
19                               COUNTS ONE THROUGH SEVEN
20                                    [18 U.S.C. § 641]
21        On or about the dates set forth below, in Los Angeles County,
22   within the Central District of California, defendant DOMINIQUE ANDREA
23   WATTS, also known as “Domonique Andrea Watts,” knowingly and
24   willfully embezzled, stole, purloined, and converted to her own use
25   money and property of the United States Postal Service, a department
26   and agency of the United States, having a value in excess of $1,000,
27   namely, money orders, in the following amounts, to which defendant
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       Case 2:21-cr-00215-GW Document 1 Filed 05/04/21 Page 2 of 6 Page ID #:2



1    WATTS knew she was not entitled, with the intent of depriving the

2    USPS of the use and benefit of that money and property:

3     Count           Date             Money Order Number        Amount
4    ONE      September 4, 2019       25752566057              $100
5    TWO      September 17, 2019      25752566485              $400
6    THREE    September 21, 2019      25752566733              $1,000
7    FOUR     September 26, 2019      25752583157              $1,000
8    FIVE     October 3, 2019         25752584103              $1,000
9    SIX      October 22, 2019        25752589907              $1,000
10   SEVEN    November 2, 2019        25752590526              $1,000
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       Case 2:21-cr-00215-GW Document 1 Filed 05/04/21 Page 3 of 6 Page ID #:3



1                           COUNTS EIGHT THROUGH FOURTEEN

2                                  [18 U.S.C. § 500]

3           On or about the dates set forth below, in Los Angeles County,

4    within the Central District of California, defendant DOMINIQUE ANDREA

5    WATTS, also known as “Domonique Andrea Watts,” with intent to defraud

6    the United States and United States Postal Service, and any person,

7    transmitted, presented, and caused to be presented the following

8    money orders knowing such money orders to have been stamped without

9    lawful authority with the following serial numbers:

10

11      Count               Date                Money Order          Amount
12                                                Number
13   EIGHT          September 4, 2019       25752566057       $100
14   NINE           September 17, 2019      25752566485       $400
15   TEN            September 21, 2019      25752566733       $1,000
16   ELEVEN         September 26, 2019      25752583157       $1,000
17   TWELVE         October 3, 2019         25752584103       $1,000
18   THIRTEEN       October 22, 2019        25752589907       $1,000
19   FOURTEEN       November 2, 2019        25752590526       $1,000
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       Case 2:21-cr-00215-GW Document 1 Filed 05/04/21 Page 4 of 6 Page ID #:4



1                             FORFEITURE ALLEGATION ONE

2              [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

3         1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

4    Procedure, notice is hereby given that the United States of America

5    will seek forfeiture as part of any sentence, pursuant to Title 18,

6    United States Code, Section 981(a)(1)(C) and Title 28, United States

7    Code, Section 2461(c), in the event of the defendant’s conviction of

8    the offenses set forth in any of Counts One through Seven of this

9    Indictment.

10        2.    The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12              (a)   All right, title and interest in any and all property,

13   real or personal, constituting, or derived from, any proceeds

14   traceable to any such offense; and

15              (b)   To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18        3.   Pursuant to Title 21, United States Code, Section 853(p), as

19   incorporated by Title 28, United States Code, Section 2461(c), the

20   defendant shall forfeit substitute property, up to the total value of

21   the property described in the preceding paragraph if, as the result

22   of any act or omission of the defendant, the property described in

23   the preceding paragraph, or any portion thereof: (a) cannot be

24   located upon the exercise of due diligence; (b) has been transferred,

25   sold to or deposited with a third party; (c) has been placed beyond

26   the jurisdiction of the court; (d) has been substantially diminished

27   in value; or (e) has been commingled with other property that cannot

28   be divided without difficulty.

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       Case 2:21-cr-00215-GW Document 1 Filed 05/04/21 Page 5 of 6 Page ID #:5



1                             FORFEITURE ALLEGATION TWO

2        [18 U.S.C. §§ 492 and 981(a)(1)(C), and 28 U.S.C. § 2461(c)]

3         1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

4    Procedure, notice is hereby given that the United States of America

5    will seek forfeiture as part of any sentence, pursuant to Title 18,

6    United States Code, Sections 492 and 981(a)(1)(C), and Title 28,

7    United States Code, Section 2461(c), in the event of the defendant’s

8    conviction of the offenses set forth in any of Counts Eight through

9    Fourteen of this Indictment.

10        2.    The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12              (a)   All right, title and interest in any and all property,

13   real or personal, constituting, or derived from, any proceeds

14   traceable to any such offense;

15              (b)   All right, title, and interest in any and all

16   counterfeits, articles, devices, and other things made, possessed, or

17   used in any such offense, or any material or apparatus used or fitted

18   or intended to be used in the making of such counterfeits, articles,

19   devices, or things; and

20              (c)   To the extent such property is not available for

21   forfeiture, a sum of money equal to the total value of the property

22   described in subparagraphs (a) and (b).

23        3.   Pursuant to Title 21, United States Code, Section 853(p), as

24   incorporated by Title 28, United States Code, Section 2461(c), the

25   defendant shall forfeit substitute property, up to the total value of

26   the property described in the preceding paragraph if, as the result

27   of any act or omission of the defendant, the property described in

28   the preceding paragraph, or any portion thereof: (a) cannot be

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       Case 2:21-cr-00215-GW Document 1 Filed 05/04/21 Page 6 of 6 Page ID #:6



1    located upon the exercise of due diligence; (b) has been transferred,

2    sold to or deposited with a third party; (c) has been placed beyond

3    the jurisdiction of the court; (d) has been substantially diminished

4    in value; or (e) has been commingled with other property that cannot

5    be divided without difficulty.

6                                               A TRUE BILL
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8                                                      /S/
                                                Foreperson
9

10   TRACY L. WILKISON
     Acting United States Attorney
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     BRANDON D. FOX
12   Assistant United States Attorney
     Chief, Criminal Division
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15   SCOTT M. GARRINGER
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20   Special Assistant United States
     Attorney
21   General Crimes Section

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